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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                         Chapter 15
PERFORADORA ORO NEGRO, S. DE R.L. DE
C.V., et al.                                             Case No. 18-11094 (SCC)
                                                         (Jointly Administered)
Debtors in a Foreign Proceeding.

GONZALO GIL-WHITE, PERSONALLY AND                        Adv. Pro. No. 19-01294
IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.
                            Plaintiff,
                   -against-

ALP ERCIL; ALTERNA CAPITAL PARTNERS,
LLC; AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS (UK)
LLP; FINTECH ADVISORY, INC.; DEUTSCHE
BANK MÉXICO, S.A., INSTITUCIÓN DE
BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
BARRADAS ABOGADOS, S.C.; GHL
INVESTMENTS (EUROPE) LTD.; JOHN
FREDRIKSEN; KRISTAN BODDEN;
MARITIME FINANCE COMPANY LTD.;
NOEL BLAIR HUNTER COCHRANE, JR;
ORO NEGRO PRIMUS PTE., LTD.; ORO
NEGRO LAURUS PTE., LTD.; ORO NEGRO
FORTIUS PTE., LTD.; ORO NEGRO DECUS
PTE., LTD.; ORO NEGRO IMPETUS PTE.,
LTD.; PAUL MATISON LEAND, JR.; ROGER
ALAN BARTLETT; ROGER ARNOLD
HANCOCK; SEADRILL LIMITED; SHIP
FINANCE INTERNATIONAL LTD.; and
DOES 1-100
                            Defendants.
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         PLEASE TAKE NOTICE THAT, effective January 11, 2021, the law firm of Wilk Auslander

LLP, counsel for Seadrill Limited and Fintech Advisory Inc., has relocated to: Worldwide Plaza, 825

Eighth Avenue, 29th Floor, Suite 2900, New York, New York 10019. All facsimile, telephone

numbers, and email addresses will remain the same.

Dated: New York, New York
       January 27, 2021
                                             WILK AUSLANDER LLP



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